Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 1 of 60 Page ID #:15




               EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 2 of 60 Page ID #:16




     Int. Cl.: 28
     Prior U.S. Cls.: 22, 23, 38 and 50
                                                                                Reg. No. 2,868,962
     United States Patent and Trademark Office                                     Registered Aug. 3, 2004


                                            TRADEMARK
                                        PRINCIPAL REGISTER




                                                   EL CATRIN



     DON CLEMENTE, INC. (TEXAS CORPORATION)               THE ENGLISH TRANSLATION OF EL CATRIN IS
     3751 MERCED DRIVE, STE. F                          THE GENTLEMAN.
     RIVERSIDE, CA 92503
       FOR: BINGO CARDS; BINGO GAME PLAYING              SEC. 2(F).
     EQUIPMENT; EQUIPMENT SOLD AS A UNIT FOR
     PLAYING BINGO BOARD GAME; AND LOTTERY
     CARDS IN THE NATURE OF A BINGO-TYPE                 SER. NO. 76-538,067, FILED 8-4-2003.
     GAME, IN CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).
       FIRST USE 12-9-1913; IN COMMERCE 12-9-1913.      PAUL F. GAST, EXAMINING ATTORNEY




                                                                                                             A-1

                                              EXHIBIT A                                                      15
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 3 of 60 Page ID #:17




                                                                                 A-2
                                  EXHIBIT A                                      16
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 4 of 60 Page ID #:18




                                                                                 A-3
                                   EXHIBIT A                                     17
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 5 of 60 Page ID #:19




                                                                                 A-4
                                EXHIBIT A                                        18
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 6 of 60 Page ID #:20




                                                                                 A-5


                                  EXHIBIT A                                      19
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 7 of 60 Page ID #:21




                                                                                 A-6
                                 EXHIBIT A                                       20
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 8 of 60 Page ID #:22




     Int. Cl.: 28
     Prior U.S. Cls.: 22, 23, 38 and 50
                                                                                Reg. No. 2,975,221
     United States Patent and Trademark Office                                    Registered July 26, 2005


                                            TRADEMARK
                                        PRINCIPAL REGISTER




     DON CLEMENTE, INC (TEXAS CORPORATION)                THE LINING SHOWN IN THE DRAWING IS A
     3751 MERCED DRIVE, STE. F                          FEATURE OF THE MARK AND NOT INTENDED
                                                        TO INDICATE COLOR.
     RIVERSIDE, CA 92503
                                                          THE FOREIGN WORDING IN THE MARK
       FOR: BINGO CARDS; BINGO GAME PLAYING             TRANSLATES INTO ENGLISH AS "THE DEATH".
     EQUIPMENT; EQUIPMENT SOLD AS A UNIT FOR
     PLAYING BINGO BOARD GAME; AND LOTTERY               SEC. 2(F).
     CARDS IN THE NATURE OF A BINGO-TYPE
     GAME, IN CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).    SER. NO. 76-532,666, FILED 7-28-2003.

       FIRST USE 12-9-1913; IN COMMERCE 12-9-1913.      BARBARA A. GOLD, EXAMINING ATTORNEY




                                                                                                             A-7
                                              EXHIBIT A                                                      21
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 9 of 60 Page ID #:23




     Int. Cl.: 28
     Prior U.S. Cls.: 22, 23, 38 and 50
                                                                                Reg. No. 2,866,357
     United States Patent and Trademark Office                                    Registered July 27, 2004


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                                        PRINCIPAL REGISTER




                                                   LA PERA



     DON CLEMENTE, INC. (TEXAS CORPORATION)               THE FOREIGN WORDING IN THE MARK
     3751 MERCED DRIVE, STE. F                          TRANSLATES INTO ENGLISH AS THE PEAR.
     RIVERSIDE, CA 92503
       FOR: BINGO CARDS; BINGO GAME PLAYING              SEC. 2(F).
     EQUIPMENT; EQUIPMENT SOLD AS A UNIT FOR
     PLAYING BINGO BOARD GAME; AND LOTTERY
     CARDS IN THE NATURE OF A BINGO-TYPE                 SER. NO. 76-532,665, FILED 7-28-2003.
     GAME, IN CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).
       FIRST USE 12-9-1913; IN COMMERCE 12-9-1913.      BARBARA A. GOLD, EXAMINING ATTORNEY




                                                                                                        A-8

                                            EXHIBIT A                                                  22
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 10 of 60 Page ID #:24




                                                                         A-9
                                 EXHIBIT A                              23
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 11 of 60 Page ID #:25




                                                                      A-10
                               EXHIBIT A                             24
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 12 of 60 Page ID #:26




                                                                     A-11
                               EXHIBIT A                            25
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 13 of 60 Page ID #:27




                                                                       A-12
                               EXHIBIT A                             26
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 14 of 60 Page ID #:28




                                                                          A-13
                                 EXHIBIT A                               27
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 15 of 60 Page ID #:29




                                                                         A-14
                                 EXHIBIT A                              28
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 16 of 60 Page ID #:30




                                                                     A-15

                                  EXHIBIT A                          29
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 17 of 60 Page ID #:31




                                                                    A-16
                              EXHIBIT A                            30
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 18 of 60 Page ID #:32




                                                                      A-17

                              EXHIBIT A                              31
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 19 of 60 Page ID #:33




                                                                      A-18
                               EXHIBIT A                              32
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 20 of 60 Page ID #:34




                                                                        A-19

                               EXHIBIT A                               33
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 21 of 60 Page ID #:35




                                                                       A-20
                              EXHIBIT A                               34
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 22 of 60 Page ID #:36




                                                                       A-21
                               EXHIBIT A                              35
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 23 of 60 Page ID #:37




                                                                    A-22
                             EXHIBIT A                             36
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 24 of 60 Page ID #:38




                                                                       A-23
                            EXHIBIT A                                37
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 25 of 60 Page ID #:39




                                                                          A-24
                             EXHIBIT A                                    38
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 26 of 60 Page ID #:40




                                                                         A-25

                              EXHIBIT A                                  39
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 27 of 60 Page ID #:41




                                                                          A-26

                           EXHIBIT A                                     40
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 28 of 60 Page ID #:42




                                                                       A-27
                         EXHIBIT A                                    41
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 29 of 60 Page ID #:43




                                                                    A-28

                                                                      42
                               EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 30 of 60 Page ID #:44




                                                                     A-29
                           EXHIBIT A                                43
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 31 of 60 Page ID #:45




                                                                        A-30

                          EXHIBIT A                                     44
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 32 of 60 Page ID #:46




                                                                          A-31
                             EXHIBIT A                                   45
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 33 of 60 Page ID #:47




                                                                          A-32
                                 EXHIBIT A                               46
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 34 of 60 Page ID #:48




                                                                         A-33
                              EXHIBIT A                                 47
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 35 of 60 Page ID #:49




                                                                        A-34

                               EXHIBIT A                               48
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 36 of 60 Page ID #:50




                                                                            A-35
                              EXHIBIT A                                   49
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 37 of 60 Page ID #:51




                                                                         A-36
                                                                        50
                               EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 38 of 60 Page ID #:52




                                                                         A-37

                               EXHIBIT A                                51
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 39 of 60 Page ID #:53




                                                                         A-38

                               EXHIBIT A                                52
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 40 of 60 Page ID #:54




                                                                          A-39

                               EXHIBIT A                                 53
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 41 of 60 Page ID #:55




                                                                          A-40
                              EXHIBIT A                                 54
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 42 of 60 Page ID #:56




                                                                      A-41
                                                                     55
                         EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 43 of 60 Page ID #:57




                                                                        A-42
                            EXHIBIT A                                   56
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 44 of 60 Page ID #:58




                                                                        A-43
                             EXHIBIT A                                 57
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 45 of 60 Page ID #:59




                                                                        A-44
                              EXHIBIT A                                58
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 46 of 60 Page ID #:60




                                                                         A-45
                               EXHIBIT A                                59
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 47 of 60 Page ID #:61




                                                                           A-46

                              EXHIBIT A                                    60
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 48 of 60 Page ID #:62




                                                                           A-47

                              EXHIBIT A                                    61
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 49 of 60 Page ID #:63




                                                                           A-48
                                                                           62
                              EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 50 of 60 Page ID #:64




                                                                         A-49
                             EXHIBIT A                                  63
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 51 of 60 Page ID #:65




                                                                          A-50

                                                                         64
                               EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 52 of 60 Page ID #:66




                                                                           A-51
                         EXHIBIT A                                        65
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 53 of 60 Page ID #:67




                                                                         A-52

                             EXHIBIT A                                   66
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 54 of 60 Page ID #:68




                                                                      A-53
                                                                     67
                          EXHIBIT A
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 55 of 60 Page ID #:69




      Int. Cl.: 28
      Prior U.S. Cls.: 22, 23, 38 and 50
                                                                                 Reg. No. 2,868,965
      United States Patent and Trademark Office                                     Registered Aug. 3, 2004


                                             TRADEMARK
                                         PRINCIPAL REGISTER




                                                  EL MUNDO



      DON CLEMENTE, INC. (TEXAS CORPORATION)                THE ENGLISH TRANSLATION OF EL MUNDO
      3751 MERCED DRIVE, STE. F                          IS THE WORLD.
      RIVERSIDE, CA 91104
        FOR: BINGO CARDS; BINGO GAME PLAYING              SEC. 2(F).
      EQUIPMENT; EQUIPMENT SOLD AS A UNIT FOR
      PLAYING BINGO BOARD GAME; AND LOTTERY
      CARDS IN THE NATURE OF A BINGO-TYPE                 SER. NO. 76-538,074, FILED 8-4-2003.
      GAME, IN CLASS 28 (U.S. CLS. 22, 23, 38 AND 50).
        FIRST USE 12-9-1913; IN COMMERCE 12-9-1913.      PAUL F. GAST, EXAMINING ATTORNEY




                                                                                                              A-54

                                          EXHIBIT A                                                           68
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 56 of 60 Page ID #:70




                                                                       A-55

                                 EXHIBIT A                             69
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 57 of 60 Page ID #:71




                                                                      A-56
                             EXHIBIT A                               70
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 58 of 60 Page ID #:72




                                                                        A-57
                             EXHIBIT A                                 71
   Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 59 of 60 Page ID #:73




Reg. No. 5,003,661         SANCHEZ QUIROZ, MARTHA MARIA (MEXICO INDIVIDUAL)
                           ACCESO II NO. 20
Registered Jul. 19, 2016   FRACCIONAMIENTO IND, BENITO JUAREZ
                           SANTIAGO DE QUERETARO, QRO. MEXICO 76120
Int. Cl.: 28               CLASS 28: Lottery tickets; Scratch cards for playing lottery games

Trademark                  FIRST USE 6-4-2014; IN COMMERCE 6-4-2014

Principal Register         The mark consists of the word "LOTERIA DON CLEMENTE" on a banner with cards
                           behind it, all over the text "SINCE 1887".

                           OWNER OF U.S. REG. NO. 1364671, 2193066, 2317479

                           No claim is made to the exclusive right to use the following apart from the mark as shown:
                           "LOTERIA" AND "SINCE 1887"

                           The English translation of "LOTERIA" in the mark is "LOTTERY".

                           The name shown in the mark "DON CLEMENTE" does not identify a particular living
                           individual.

                           SER. NO. 85-910,893, FILED 04-22-2013

                           RONALD E AIKENS, EXAMINING ATTORNEY




                                                                                                         A-58
                                      EXHIBIT A                                                         72
Case 2:22-cv-00138-PA-JC Document 1-1 Filed 01/06/22 Page 60 of 60 Page ID #:74




                                                                          A-59
                                  EXHIBIT A                               73
